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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for reconsideration (Filing No. 148) of this Court’s memorandum

opinion (Filing No. 144) denying defendant’s § 2255 motion to

vacate, set aside or correct sentence by a person in federal

custody (Filing No. 140).      The matters raised in the motion for

reconsideration are basically the same claims which were the

basis for the original § 2255 motion.

           The motion will be denied for the same reasons

addressed in this Court’s memorandum opinion (Filing No. 144).

Accordingly,

           IT IS ORDERED that defendant’s motion for

reconsideration is denied.

           DATED this 11th day of February, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
